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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE:

 LARRY FREDERICK and                                   Bankruptcy No. 18-70870-JAD
 SHARON FREDERICK,
                                                       Chapter 11
                Joint Debtors,
                                                       Document No. 187
 LARRY FREDERICK and
 SHARON FREDERICK,                                     Related to Doc. No.

                Movants,                               Hearing Date and Time:

          vs.

 M&T BANK, THE UNITED STATES OF
 AMERICA FARM SERVICE AGENCY,
 CARGILL, INC., SUSQUEHANNA
 COMMERCIAL FINANCE, INC.,
 GROWMARK FS, LLC, FS FINANCIAL
 SERVICES, LLC, WELLS FARGO
 VENDOR FINANCIAL SERVICES, LLC,
 BLAIR COUNTY TAX CLAIM BUREAU,
 PENNSYLVANIA DEPARTMENT OF
 REVENUE, AND THE INTERNAL
 REVENUE SERVICE,

                Respondents.


     NOTICE AND ORDER SETTING ZOOM HEARING ON AN EXPEDITED BASIS

              AND NOW, this 27th day of January              , 20 21 , NOTICE IS HEREBY
 GIVEN THAT a Request for an Expedited Hearing on Motion to Approve Bid Procedures
 and Expense Reimbursement (“Motion”) has been filed in the above-referenced case by Robert
 O Lampl, Counsel for Larry and Sharon Frederick.

         A Zoom Video Conference Hearing will be held on February 5                 , 20 21      , at
11:000 a .m. before Judge Jeffery A. Deller via the Zoom Video Conference Application (“Zoom”). To
 participate in and join a Zoom Hearing, please initiate and use the following link at least ten (10)
 minutes prior to the scheduled Zoom Hearing time: https://www.zoomgov.com/j/16009283473,
 or alternatively, you may use the following Meeting ID: 160 0928 3473. All participants are
 required to appear by Zoom and must comply with the Notice of Temporary Modification of
 Procedures Before the Honorable Jeffery A. Deller For Matters Scheduled On or After January
 1,     2021,      which      can     be       found     on     the      Court’s     website       at
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 http://www.pawb.uscourts.gov/content/judge-jeffery-deller. Persons without video conferencing
 capabilities must immediately contact Chambers staff at (412) 644-4710 to make alternative
 arrangements. Absent emergency circumstances, such arrangements must be made no later than
 three (3) business days prior to the hearing.

                On or before 2/4/2021 at 4 PM        , Responses to the Motion shall be filed with
 the Clerk of the Bankruptcy Court and served on the parties in interest.

                  Movant shall serve a copy of this completed Scheduling Order and the Motion by
 U.S. Mail and, (1) hand delivery or (2) facsimile or (3) email (separate from CM/ECF) on the
 Respondent(s), Trustee, Debtor, Debtor’s Counsel, all secured creditors whose interests may be
 affected by the relief requested, U.S. Trustee and counsel for any committee. In the absence of a
 committee, the Movant shall serve the 20 largestg unsecured creditors. Movant shall immediately y
 file a certificate of service indicating
                                       ng such service.



                                                        United States
                                                               Stat
                                                                 ates Bankruptcy Judge
                                                                 at
                                                         Jeffery A. Deller




    *
     All persons are reminded that pursuant to the Court’s Notice and Order, and as set
     forth in Judge Deller’s Zoom Procedures, the public’s recording or duplication of
     any audio or video of the hearing is strictly prohibited.

                                                                                          FILED
                                                                                          1/27/21 4:01 pm
                                                                                          CLERK
                                                                                          U.S. BANKRUPTCY
                                                                                          COURT - :'3$
